       Case 3:22-cv-07336-JSC Document 68 Filed 08/18/23 Page 1 of 6



 1   KEKER, VAN NEST & PETERS LLP
     STEVEN P. RAGLAND - # 221076
 2   sragland@keker.com
     NICHOLAS D. MARAIS - # 277846
 3   nmarais@keker.com
     633 Battery Street
 4   San Francisco, CA 94111-1809
     Telephone:     415 391 5400
 5   Facsimile:     415 397 7188

 6   Attorneys for Defendant
     RIBBIT CAPITAL, L.P.
 7

 8                                 UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA

10                                     SAN FRANCISCO DIVISION

11   ELLIOTT LAM, individually and on behalf of      Case No. 3:22-cv-07336-JSC
     other members of the general public similarly
12   situated,                                       DEFENDANT RIBBIT CAPITAL L.P.’S
                                                     ADMINISTRATIVE MOTION TO
13                  Plaintiffs,                      CONSIDER WHETHER CASES SHOULD
                                                     BE RELATED PURSUANT TO CIV. L. R.
14             v.                                    3-12
15   SAM BANKMAN-FRIED, ZIXIAO “GARY”                Dept.:     Courtroom 8 – 19th Floor
     WANG, NISHAD SINGH and CAROLINE                 Judge:     Hon. Jacqueline Scott Corley
16   ELLISON,
17                  Defendants.
18
     THIS DOCUMENT RELATES TO:
19
     Pierce v Bankman Fried et al.,
20   Case No. 3:22-cv-07444-JSC
21   Hawkins v Bankman Fried et al.,
     Case No. 3:22-cv-07620-JSC
22
     Jessup v Bankman Fried et al.,
23   Case No. 3:22-cv-07666-JSC
24   Papadakis v Bankman Fried et al.,
     Case No. 3:22-cv-00024-JSC
25
     Bhatia v Silvergate Bank,
26   Case No. 3:22-cv-07444-JSC
27   Magleby v Silvergate Bank, et al.,
     Case No. 3:23-cv-00669-JSC
28


      ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED (CIV. L. R. 3-12)
                                   Case No. 3:22-cv-07336-JSC
     2335492
       Case 3:22-cv-07336-JSC Document 68 Filed 08/18/23 Page 2 of 6



 1   Keane v Silvergate Bank, et al.,
     Case No. 3:23-cv-00670-JSC
 2
     Rabbitte v. Sequoia Capital Operations, LLC,
 3   et al.,
     Case No. 3:23-cv-00669-JSC
 4
     Girschovich v. Sequoia Capital Operations,
 5   LLC, et al.,
     Case No. 3:23-cv-00945-JSC
 6
     Cabo v. Sequoia Capital Operations, LLC,
 7   Case No. 3:23-cv-02222-JSC
 8   Imbert v. Bankman-Fried, et al.,
     Case No. 3:23-cv-02475-JSC
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


      ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED (CIV. L. R. 3-12)
                                   Case No. 3:22-cv-07336-JSC
     2335492
          Case 3:22-cv-07336-JSC Document 68 Filed 08/18/23 Page 3 of 6



 1   I.        INTRODUCTION

 2             Pursuant to Civil Local Rules (“L.R.”) 3-12 and 7-11, Defendant Ribbit Capital, L.P.

 3   (“Ribbit”) submits this administrative motion to notify the Court of two recently filed actions—

 4   O’Keefe, et al. v. Temasek Holdings (Private) Limited, et al., No. 3:23-cv-03655-JD (“the

 5   O’Keefe Action”), and Rabbitte, et al. v. K5 Gloval Advisor, LLC, et al, No. 4:23-cv-03953-DMR

 6   (“the Rabbitte Action”)—that appear to be related to Lam v. Bankman-Fried, No. 3:22-cv-07336-

 7   JSC (the “Lam Action”) and eleven other matters pending before this court (collectively, the

 8   “previously related actions”).1 In the interest of judicial efficiency, Ribbit respectfully proposes

 9   that this Court relate the O’Keefe Action and the Rabbitte Action to the Lam Action (and the

10   previously related actions currently pending before this Court) because these cases (1) involve the

11   same or similar parties, transactions, and events and (2) involve the same or substantially related

12   questions of law such that would be inefficient and burdensome to conduct the cases before

13   different judges. See Civ. L.R. 3-12(a).

14   II.       LEGAL STANDARD

15             “An action is related to another when: (1) The actions concern substantially the same

16   parties, property, transaction, or event; and (2) It appears likely that there will be an unduly

17   burdensome duplication of labor and expense or conflicting results if the cases are conducted

18   before different Judges.” Civ. L.R. 3-12(a). When a party knows or believes that an action filed

19   in or removed to this District is related to another action pending in this District “as defined in

20   Civil L.R. 3-12(a), the party must promptly file in the lowest-numbered case an Administrative

21   Motion to Consider Whether Cases Should be Related.” Civ. L.R. 3-12(b).

22

23   1
       The eleven other previously related actions are: (1) Pierce v. Bankman-Fried et al., No. 4:22-cv-
24   07444-JSC (the “Pierce Action”); (2) Hawkins v. Bankman-Fried et al., No. 3:22-cv-07620-JSC
     (the “Hawkins Action”); (3) Jessup v. BankmanFried, No. 3:22-cv-07666-JSC (the “Jessup
25   Action”); (4) Papadakis v. Bankman-Fried, No. 3:23-cv00024-JSC (the “Papadakis Action”); (5)
     Bhatia v. Silvergate Bank, No. 3:23-cv-00667-JSC (the “Bhatia Action”); (6) Keane v. Silvergate
26   Bank, et al., No. 4:23-cv-00670-JSC (the “Keane Action”); (7) Magleby v. Silvergate Bank et al.,
     No. 4:23-cv-00669-JSC (the “Magleby Action”); (8) Rabbitte v. Sequoia Capital Operations,
27   LLC, No. 3:23-cv-00655-JSC (the “Rabbitte v. Sequoia Action”); (9) Girshovich v. Sequoia
     Capital Operations, LLC, et al., No. 3:23-cv-00945-JSC (the “Girshovich Action”); (10) Cabo v.
28   Sequoia Capital Operations, LLC, No. 3:23-cv-02222-SK (“the Cabo Action”); and (11) Imbert
     v. Bankman-Fried et al, No. 3:23-cv-02475 (the “Imbert action”).
                                                   1
         ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED (CIV. L. R. 3-12)
                                      Case No. 3:22-cv-07336-JSC
     2335492
          Case 3:22-cv-07336-JSC Document 68 Filed 08/18/23 Page 4 of 6



 1   III.      ANALYSIS

 2             The O’Keefe Action and the Rabbitte Action should be related to the Lam Action because

 3   the cases concern substantially the same claims and underlying events, and because relating the

 4   cases would conserve judicial resources and avoid the possibility of conflicting decisions.

 5             The claims in the O’Keefe Action, the Rabbitte Action, the Lam Action, and the other

 6   previously related actions arise out of the same alleged transactions and events: the conduct of

 7   Sam Bankman-Fried and other FTX officers, the deposit and use of customer funds for trading on

 8   the FTX platforms, and the eventual collapse of FTX in November 2022. Like the allegations in

 9   another suit filed by Mr. Rabbitte—Rabbitte v. Sequoia Capital Operations, LLC, No. 3:23-cv-

10   00655-JSC, which this Court related to the Lam Action in March—the O’Keefe Action and the

11   Rabbitte Action assert claims against various investor defendants and alleges that they “knew that

12   FTX’s public representations were false … and that FTX made a number of material

13   omissions”—and nevertheless “remained silent.”2 See Marais Decl., Ex. 1 (Complaint, O’Keefe

14   Action) ¶ 30; see also id. Ex. 2 (Complaint, Rabbitte Action) ¶ 9 (“Domestic VC Defendants

15   made numerous deceptive and misleading statements of their own about FTX’s business,

16   finances, operations, and prospects for the purpose of inducing customers to invest, trade, and/or

17   deposit assets with FTX”); cf. ECF 30 (Joint Admin. Mot. at 2:18–21 (explaining that, in Lam and

18   Rabbitte, “the operative complaints” contain “substantially similar factual allegations concerning

19   the alleged promotion of FTX by various defendants and alleged misrepresentations regarding”

20   FTX’s operations).

21             There is also overlap between the parties. For instance, the same named plaintiff—Patrick

22   Rabbitte—has filed several different cases, one of which has already been related to the Lam

23   Action. Similarly, several of the venture capital and investor defendants named in other

24   previously related actions—such as Sequoia, Thoma Bravo, and Paradigm—have been named as

25   defendants in both the O’Keefe Action and the Rabbitte Action. And those same entities are

26   already defendants in other previously related actions in this Court, including Rabbitte v. Sequoia

27   2
       These allegations, which appear in the O’Keefe, Rabbitte, Lam, and Rabbitte v. Sequoia Capital
28   Operations, LLC complaints, are merely allegations. For the avoidance of doubt, Ribbit denies
     them.
                                                   2
         ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED (CIV. L. R. 3-12)
                                      Case No. 3:22-cv-07336-JSC
     2335492
       Case 3:22-cv-07336-JSC Document 68 Filed 08/18/23 Page 5 of 6



 1   Capital Operations, LLC, No. 3:23-cv-00655-JSC and Girshovich v. Sequoia Capital Operations,

 2   LLC, et al., No. 3:23-cv-00945-JSC.

 3             Relating the O’Keefe Action and the Rabbitte Action to the Lam Action and the other

 4   previously related actions would conserve judicial resources and avoid conflicting timelines and

 5   results. It would be inefficient to have the O’Keefe Action and the Rabbitte Action proceed with a

 6   different judge than the Lam Action and the other previously related actions—and doing so would

 7   increase the risk of “an unduly burdensome duplication of labor and expensive or conflicting

 8   results.” See Civil L.R. 3-12(a)(2).

 9             In sum, because the actions involve substantially similar parties and claims and arise out

10   of the same series of events, Ribbit respectfully submits that it would be a more efficient use of

11   judicial resources for the actions to be related.

12   IV.       CONCLUSION
13             For the foregoing reasons, Ribbit asks the Court to consider whether the O’Keefe Action

14   and the Rabbitte Action should be related to the following cases already related by this court:

15                   Lam v. Bankman-Fried, No. 3:22-cv-07336-JSC

16                   Pierce v. Bankman-Fried et al., No. 4:22-cv-07444-JSC

17                   Hawkins v. Bankman-Fried et al., No. 3:22-cv-07620-JSC

18                   Jessup v. Bankman-Fried, No. 3:22-cv-07666-JSC

19                   Papadakis v. Bankman-Fried, No. 3:23-cv00024-JSC

20                   Bhatia v. Silvergate Bank, No. 3:23-cv-00667-JSC

21                   Keane v. Silvergate Bank, et al., No. 4:23-cv-00670-JSC

22                   Magleby v. Silvergate Bank et al., No. 4:23-cv-00669-JSC

23                   Rabbitte v. Sequoia Capital Operations, LLC, No. 3:23-cv-00655-JSC

24                   Girshovich v. Sequoia Capital Operations, LLC, et al., No. 3:23-cv-00945-JSC

25                   Cabo v. Sequoia Capital Operations, LLC, No. 3:23-cv-02222-JSC

26                   Imbert v. Bankman-Fried et al, No. 3:23-cv-02475-JSC

27

28

                                                3
      ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED (CIV. L. R. 3-12)
                                   Case No. 3:22-cv-07336-JSC
     2335492
       Case 3:22-cv-07336-JSC Document 68 Filed 08/18/23 Page 6 of 6



 1   Dated: August 18, 2023                         KEKER, VAN NEST & PETERS LLP

 2
                                              By:   /s/ Nicholas D. Marais
 3
                                                    STEVEN P. RAGLAND
 4                                                  NICHOLAS D. MARAIS

 5                                                  Attorneys for Defendant
                                                    RIBBIT CAPITAL, L.P.
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                4
      ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED (CIV. L. R. 3-12)
                                   Case No. 3:22-cv-07336-JSC
     2335492
